Case 1:18-cv-04570-WMR Document 1 Filed 09/28/18 Page 1 of 87

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION
JOY LASEKAR, Ph.D.,
Plaintiff,
VS. : CIVIL ACTION FILE

: NO.

PHILLIP W. HURD;
PATRICK A. JENKINS; JILDA D.
GARTON; and MARK G. ALLEN,

Defendants : JURY DEMAND INCLUDED

COMPLAINT
COMES NOW Joy Laskar, Plaintiff, and for his Complaint against
Defendants Phillip W. Hurd, Patrick A. Jenkins, Jilda D. Garton, and Mark G.

Allen, respectfully shows the Court the following:

INTRODUCTION
1,
Plaintiff brings this action pursuant to (a) Title 42 U.S.C. §$ 1983 and 1988,

(b) the Fourth Amendment to the United States Constitution, and (c) principles of
Case 1:18-cv-04570-WMR Document 1 Filed 09/28/18 Page 2 of 87

Georgia law pertaining to the claim of malicious prosecution. Plaintiff shows that
intentionally malicious acts and omissions of the Defendants led directly to and
caused the criminal prosecution of Dr. Laskar for the offenses of theft and
racketeering. Plaintiff shows that Defendants initiated their investigation against
Dr. Laskar in the face of longstanding practices and procedures at the Georgia
Institute of Technology (“Georgia Tech”) which plainly demonstrated that Dr.
Laskar had committed no wrongdoing. Had such practices and procedures not been
willfully ignored, rather taken into account and fairly considered, Plaintiff would
have suffered none of the damages Defendants caused him. Defendants instead
initiated and supported an investigatory process leading to the suspension,
termination, arrest and criminal prosecution of Dr. Laskar based upon an
incomplete, inaccurate and misleading investigatory record. It was a report that
they were responsible for creating. Defendants acted maliciously and without
probable cause.

2.

When Defendants began their investigation, Dr. Laskar was an esteemed and
internationally prominent electrical engineer and professor serving on the Georgia
Tech faculty. Holder of the Georgia Tech Schlumberger Chair in Microelectronics
at the School of Electrical and Computer Engineering, Dr. Laskar was focused on

the rapidly emerging mixed signal design technology field. It 1s a field in which
Case 1:18-cv-04570-WMR Document 1 Filed 09/28/18 Page 3 of 87

Dr. Laskar holds over 50 patents. Dr. Laskar was, and is today, an industry leader
in the field of 60GHz signal design.
3.

Dr. Laskar is additionally the author of five (5) books and more than 600
peer reviewed journal and conference articles. Prior to the termination of his
employment as full Professor, Dr. Laskar simultaneously served as Faculty
Advisor to no less than 50 graduate doctoral students. At the time, this was more
than any other Georgia Tech professor.

4.

In recognition of Dr. Laskar’s scholarship, as reward for his leading-edge
research, and in tribute to his extensive mentoring of students and colleagues alike,
Dr. Laskar had been the recipient of numerous awards and honors. These
recognitions included:

(a) The Army Research Office Young Investigator Award (1995);

(b) The NASA Invention Award: “Integrated Noise Generator”
(1996);

(c) The National Science Foundation CAREER Award (1996);

(d) The National Science Foundation Packaging Research Center

Faculty Of the Year Award (1998);

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 4 of 87

(e) The National Science Foundation Packaging Research Center
Educator Of the Year Award (1999);

(f) The Rappaport Award from the Institute of Electrical and
Electronics Engineers (1999);

(g)The Georgia Tech Faculty Graduate Student Mentor of the year
(2001);

(h) Appointment as Senior Member of the Institute of Electrical and

Electronics Engineers (2002);
(4) The Clemson University College of Engineering Young Alumni
Award (2003);

(j) The Outstanding Young Engineer Award of the Institute of
Electrical and Electronics Microwave Theory and Techniques
Society (2003);

(k) The NAE/Humboldt Foundation Featured Speaker for Frontiers of
Engineering (2003);

(1) Fellow of the Institute of Electrical and Electronic Engineers
(2005);

(m) Distinguished Lecturer in 2006-07 at The Institute of Electrical

and Electronics Engineers EDS;

(n) Recipient of Georgia Tech’s “Outstanding Faculty Research

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 5 of 87

Author” Award (2007);

(0) Recipient of Georgia Tech ECE’s Distinguished Mentor Award
(2008);

(p) Vice Chair of the Institute of Electrical and Electronics
Engineers MTT-S Executive Committee (2008-09);
and

(q) Chair of the Institute of Electrical and Electronic Engineers
MTT-S Executive Committee (2010).

5.

In 2003, Dr. Laskar helped to found Georgia Tech’s Georgia Electronic
Design Center (“GEDC”) and became its first Director. GEDC was conceived as a
cross-disciplinary electronics and plutonics research center focused on the
development of high-speed electronic components and signal processing in order
to achieve breakthrough performance. As Director, Dr. Laskar established
numerous partnerships with outstanding technology companies from around the
world. These companies were encouraged by Dr. Laskar to provide, and did
provide, monies to GEDC and various affiliated Georgia Tech organizations which
sought the opportunity to work closely on advance research in collaboration with

faculty members at Georgia Tech. This opportunity was one companies were

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 6 of 87

keenly interested in pursuing because, largely as a result of Dr. Laskar’s path-
finding
research, Georgia Tech had become the place to be in mixed signal technology
research. More than $70 Million in managed grants and research contracts were
secured by Dr. Laskar in his capacity either as Principal Investigator or Co-
Investigator on specific research projects. As measured by grants and research
contracts received, Dr. Laskar was one of the most productive faculty members in
the entire Institute. Dr. Laskar attracted grants and research contracts for:
(a) National and International companies including:
1. Hewlett-Packard;
ll. Texas Instruments;
i. General Electric;
iv. National Semiconductor Corporation;
Vv. Samsung;
vi. BellSouth
vii. International Business Machines (IBM);
vill. Northrop Grumman; and
ix. Microsoft Corporation.
(b) Governmental organizations such as:

i. NASA;

 
Case 1:18-cv-04570-WMR Document 1 Filed 09/28/18 Page 7 of 87

ii. The U.S. Army;

ili, The U.S. Navy; and

iv. The National Science Foundation.
6.

In furtherance of Georgia Tech’s mission to provide a learning laboratory for
its students, the GEDC during Dr. Laskar’s tenure saw ever-increasing numbers of
undergraduate and graduate level students working on Center research programs.
Attracted by the exciting work of Dr. Laskar and his colleagues, these students
were assigned to Georgia Tech faculty members actually conducting the research.
Benefited by Dr. Laskar’s outreach and charismatic leadership, a large portion of
that research was supported by some of the world’s most important and best-
known technology companies, giving the Center additional cache and leverage in
attracting the very best doctoral candidates to enroll at Georgia Tech. Once
enrolled, these students were able to utilize the equipment, facilities and chip
technology made available to them at the Center. They were further able to use
their research as part of their doctoral theses and to have the opportunity to make
important contributions to an emerging new technology. Today, GEDC has more
than 15 active faculty and over 100 graduate and undergraduate students engaged
in its activities. Georgia Tech advertises GEDC as being “one of the world’s

largest university-based semiconductor research centers.” (www.gedc.gatech.edu)
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 8 of 87

7.

The investigation undertaken by Defendants, the suspension without pay,
and the termination of Dr. Laskar’s tenured faculty position, followed by his arrest
and the ensuing criminal prosecution, severely damaged Dr. Laskar. These actions
were amplified by the media coverage which Defendants organized and assisted.
As a direct consequence, Dr. Laskar’s reputation within the academy was
destroyed. He was not able for a period of six (6) years following his arrest to

secure full-time employment at any other accredited academic institution. The

resulting damages to the Professor’s personal health and well-being were profound.

Dr. Laskar was professionally diagnosed as suffering from post-traumatic stress
syndrome (“PTSD”). His wife and three children suffered severe and long-lasting
emotional distress and anxiety. The entire Laskar family was devastated by a
disgrace that was needlessly, publicly, and maliciously inflicted upon them.

8.

Specific actions undertaken by Defendants demonstrate the maliciousness
with which their investigation was pursued. Defendants deliberately timed the
release of their investigative findings without even granting Dr. Laskar a single
meeting to know and understand, then challenge the purported findings which had
been made. Defendants deliberately orchestrated their Georgia Bureau of

Investigation raid of Dr. Laskar’s office, vehicles, and residence to occur on May
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 9 of 87

17, 2010, the very day that a heralded new technology company founded by Dr.
Laskar, Sayana Wireless LLC, was scheduled to be sold. Both Dr. Laskar and
Georgia Tech’s affiliated contracting entity, the Georgia Tech Research
Corporation (“GTRC”), held substantial equity interests in Sayana. The scheduled
sale of the company would have provided Dr. Laskar millions of dollars in
transaction proceeds, and would have provided GTRC millions of dollars more.
When Dr. Laskar was suspended, his suspension was implemented without pay, in
contravention of the Institute’s own Faculty Handbook regulations. When the
ensuing revocation process got underway, the Institute again did not follow its own
procedures, and Dr. Laskar was never permitted to appear before the interim
faculty panel to plead his case. Defendants even reneged on the conditions which
Dr. Laskar’s criminal attorney had negotiated for the surrender of the Professor to
law enforcement authorities, deceptively moving Dr. Laskar into the public square
so that television reporters whom Defendants had arranged to be on hand could
film the proverbial “perp” walk as the Professor was taken into custody.
9.

In the weeks and months which followed, further substantial damages were
caused to Dr. Laskar. Dr. Laskar’s sparkling career, its glowing prospects for
further advancement, the Professor’s personal reputation, and his professional role

as mentor and advisor to an extraordinary number of talented Georgia Tech

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 10 of 87

advanced degree and doctoral students, were all effectively demolished. Dr.
Laskar was suspended without pay in violation of Georgia Tech’s own policy
guaranteeing payment until the merits of the investigation could be heard. He was
then deprived of his tenured position on the Georgia Tech faculty. The loss of that
faculty position, and the loss of transaction proceeds had the scheduled sale of
Sayana Wireless LLC been permitted to occur, both jeopardized Dr. Laskar’s
ability to support and care for his family. In the absence of the financial support he
was rightfully due, Dr. Laskar was forced to make other arrangements to address
the substantial medical expenses incurred in treating him and his family members
for the emotional and physica! illnesses they suffered. Crushing legal expenses
also had to be paid in order for Dr. Laskar to defend himself from the
unsubstantiated charges being brought against him.

10.

More than six years later, on October 5, 2016, after a bitter and protracted
legal process, The Honorable Robert McBurney, a sitting Judge of the Superior
Court of Fulton County, Georgia, entered an order dismissing all criminal charges
brought and filed against Dr. Laskar.

11.

Termination of the criminal proceedings against Dr. Laskar gives rise under

10

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 11 of 87

Georgia law to a claim for malicious prosecution. O.C.G.A. § 51-7-41. Dr. Laskar
shows that the investigation undertaken by Defendants, and the resulting criminal
prosecution filed and pursued against him, was the result of actions orchestrated
and coordinated by Defendants with law enforcement and prosecutorial actors.
Under the guise of a university inquiry led by the Internal Audit Department of
Georgia Tech, Defendants maliciously pursued an investigation of Dr. Laskar
unsupported by any probable cause. Defendants’ efforts were, in part, a deliberate
effort fo assign blame to Dr. Laskar for accounting practices and research
procedures that were both commonplace and longstanding within the Georgia Tech
community.
12.

The actions of the Defendants were not just immoral, they were unjust.
They were extravagantly unfair to a man who had done nothing but bring renown
and distinction to Georgia Tech and enriched the research grant and foundation
coffers of the Institute by millions and millions of dollars. Maliciously pursued
and unsupported by any probable cause, the Defendants’ criminal investigation any
prosecution of Dr. Laskar was wrongful, illegal and scandalous. It inflicted one
more stain upon the Georgia Tech community at large. Plaintiff brings this action
to correct the injustice that was perpetrated against him, to clear his name in every

possible espect, and to win the monetary relief that is due him.

11

 

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 12 of 87

JURISDICTION AND VENUE
13.

This Court has subject-matter jurisdiction of this action under and by virtue
of Title 28 U.S.C. §§ 1331 and 1343. Plaintiff raises a federal question and the
violation of his Constitutional rights. This Court has pendent jurisdiction of
Plaintiff's state law claims under and by virtue of 28 U.S.C. $1367(a).

14.

This Court is the proper venue in which to adjudicate this action under and

by virtue of 28 U.S.C. $$ 1391(b)(1) and (2). The material actions and omissions

of Defendants took place in this District and Division.

PARTIES
15.

Dr. Laskar was previously a resident of Atlanta and the State of Georgia.
Dr. Laskar now resides in Santa Clara County, California. The Defendants, all of
whom were acting under color of a state and state law as employees of Georgia
Tech and its affiliated entities, provided false and misleading information
regarding Dr. Laskar to law enforcement and prosecutors, which led to the criminal
prosecution that was terminated in Dr. Laskar’s favor. The actions described led to

a Fourth Amendment violation of Dr. Laskar’s constitutional rights and subjects

12

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 13 of 87

the Defendants to Section 1983 hability for malicious prosecution. Plaintiff's
claims are asserted against Defendants in their individual and personal capacities.
16.

Defendant Phillip W. Hurd is a resident of the State of Georgia and resides
at 1881 Lancaster Drive S.E., Conyers, Rockdale County, Georgia 30013-6440.
Defendant Hurd is subject to the jurisdiction of this Court.

17.

Defendant Patrick A. Jenkins is a resident of the State of Georgia and resides
at 4704 Brazil Wood Court, Kennesaw, Cobb County, Georgia 30144-1487.
Defendant Jenkins is subject to the jurisdiction of this Court.

18.

Defendant Jilda Garton is a citizen and resident of the State of Georgia and
resides at 420 Woodvine Court, Roswell, Fulton County, Georgia 30076-3630.
Defendant Garton is subject to the jurisdiction of this Court.

19,

Defendant Mark G. Allen was previously a resident of the State of Georgia.
He is today a resident of the State of Pennsylvania and resides at 2037 Spruce
Street, Philadelphia, Pennsylvania 19103-5623. Defendant committed tortious acts
and omissions while in Georgia which caused serious and substantial damage to

Plaintiff in Georgia, including acts constituting and supporting the malicious

13

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 14 of 87

prosecution of Plaintiff. Under and by virtue of O.C_.G.A. § 9-10-91, Defendant

Allen is subject to the jurisdiction of this Court.

OPERATIVE FACTS

Dr. Laskar’s Superlative Academic And Professional Credentials
20.

Dr. Laskar is widely known for his work in designing and developing mixed
signal integration circuits and chips for use in wireless and digital communications
systems. At Georgia Tech, Dr. Laskar spearheaded the development of high
performance mixed signal solutions operating in low-power usage scenarios (i.e.,
in situations involving 100 to 1,000 times lower power outputs than previously
accomplished). Dr. Laskar’s work produced substantially lower cost structures and
made possible the development of technica! solutions costing less than $10.00.
Prior thereto, design and build expenses had exceeded $10,000.00.

21.

At all times material to the events described in this Complaint, Dr. Laskar’s
research included:

(a) the original design and development of the power amplifier (a key
component of the transmitter) used in Intel Corporation’s Centrion
Platform;

(b) the development of high speed equalization chips (i.e., techniques

14

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 15 of 87

to preserve information in high speed data links) used by Intersil
Americas LLC for improved data connectivity in servers being
deployed by Google, Microsoft Corporation and Cisco Systems;
and
(c) the development of technology building blocks for the
miniaturization of military grade radar systems affixed to chips.
22.

Dr. Laskar began his technical career by earning a Bachelor of Science

degree in Computer Engineering from Clemson University in 1985.
23.

In 1989, Dr. Laskar earned a Master of Science degree in Electrical
Engineering from the University of [linois at Urbana-Champaign. Two years
later, in 1991, he earned his Doctorate degree in Electrical Engineering from that
same institution.

24.

Thereafter, Dr. Laskar began work as a Research Engineer at the

Thomas J. Watson Research Center in New York, Dr. Laskar focused on

International Business Machines Corporation (“IBM”). Working out of IBM’s
Cryogenic CMOS. Cyrogenics is a branch of physics dealing with the production

and effects of very low temperatures. CMOS, or complementary metal-oxide-

)
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 16 of 87

semiconductors, is a technology used in constructing integrated circuits. The
technology is used in microprocessors, microcontrollers, static RAM and other
digital logic circuits. Cyrogenic CMOS are currently being evaluated as point-
contact HPGe detectors (i.e., hyperpure germanium detectors) in connection with
deep space dark matter search and neutrino experimentation.

25,

In 1992 Dr. Laskar became an Assistant Professor at the University of
Hawaii at Manoa. There, he helped lay the foundation for establishment of the
University’s Microwave Applications Laboratory.

26.

In January 1995 Dr. Laskar was appointed an Assistant Professor at the
Georgia Institute of Technology (“Georgia Tech”). Two years later, he was
promoted to the position of Associate Professor with tenure.

27.

In 2002, Dr. Laskar became a tenured full Professor at Georgia Tech. At the

time of his appointment, Dr. Laskar was simultaneously named the Joseph M.

Pettit Professor of Electronics.

28.
In 2003 Dr. Laskar helped to found Georgia Tech’s Georgia Electronic

Design Center (the “GEDC”). He became the GEDC’s first Director. As

16
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 17 of 87

previously noted, GEDC is a cross-disciplinary electronics and photonics research
center focused on the development of high-speed electronic components and signal
processing. Dr. Laskar worked to establish partnerships between GEDC and
prominent technology companies from around the world. These companies
provided monies to GEDC or affiliated Georgia Tech organizations in order to
have the opportunity to work closely with Georgia Tech faculty members on
advance research. As mentioned, more than $70 Million in managed grants or
research contracts were secured by Dr. Laskar in his capacities as Principal
Investigator or Co-Principal Investigator.

29,

Dr. Laskar ultimately became one of the most productive faculty members at
Georgia Tech as measured by grants and research contracts received. National and
international companies including Hewlett-Packard, Texas Instruments, General
Electric, National Semiconductor Corporation, Samsung, Bellsouth, IBM,
Northrop Grumman, and Microsoft Corporation funded grants and research
contracts. Governmental organizations such as NASA, the U.S. Army, the U.S.
Navy and The National Science Foundation did so as well. GEDC provided a
learning laboratory for University students engaged in such research and seeking to
advance their graduate and doctoral ambitions. Today, the Center has more than 15

active faculty and over 100 graduate and undergraduate students. Georgia Tech

17

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 18 of 87

currently advertises the Center as “one of the world’s largest university-based
semiconductor research centers.” (www.gedc.gatech.edu)
30.

In 2007 Dr. Laskar was awarded the Georgia Tech-Schlumberger Chair in
Microelectronics at the School of Electrical and Computer Engineering.
Schlumberger NV is a world-wide business and provides integrated project
management solutions to the international oil and gas exploration and production
incustries.

31.

Over the course of his academic career, Dr. Laskar has written and presented
numerous scholarly papers, for publication and presentation in the United States
and around the world. His work has focused on mixed signa! design. As
previously mentioned, he is the author of five (5) books and more than 600 peer-
reviewed journal and conference articles.

32.

With more than 50 patents issued to him in the field of mixed signal design,
Dr. Laskar is an industry leader in 60GHz signal design. His prolific scholarship,
leading-edge research and his extensive mentoring of students and colleagues has
caused Dr. Laskar to become the recipient of numerous awards and honors. A

complete listing of those recognitions can be found in Paragraph 4 above.

18

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 19 of 87

33,

Significantly, these recognitions were not in all instances devoted to the
accomplishment or advancement of Dr. Laskar’s own career aspirations. At least
two awards came to the Professor for being an “outstanding” mentor to Georgia
Tech graduate students and a “distinguished” mentor in the School of Electrical
and Computer Engineering. As previously noted, at Georgia Tech Dr. Laskar
simultaneously served as Faculty Advisor to no less than 50 graduate doctoral
candidates, which by any measure is an impressive number and was at that time

more than any other Georgia Tech professor.

The Formation Of Sayana Wireless, LLC By Dr. Laskar
34.

In 2006, Dr. Laskar created Sayana Wireless, LLC (“Sayana”), a Georgia
limited liability company, together with Dr. Stephane Pinel, a colleague and fellow
Georgia Tech employee. Dr. Laskar owned a majority membership interest in the
company. GTRC was granted a 5% member interest in Sayana and provided copies
of all organizational and stock subscription documents. These documents detailed
the ownership interests held by all members in the company, including the majority
member interest held by Dr. Laskar. GIRC’s ownership share was later increased

to a 10% member interest.

19

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 20 of 87

35.

Georgia Tech actively encouraged Dr. Laskar to found Sayana, just as it
encouraged other Institute professors to found companies that could advance the
dissemination of their research technology to the public at large. Georgia Tech was
engaged in a conscious effort to emulate and even surpass the success of peer
institutions like Stanford and MIT in the incubation and spin-off of technology
companies. With Dr. Laskar’s leading edge research work in mixed signal
technology, Georgia Tech encouraged Dr. Laskar to have Sayana join GEDC as a
member company. Georgia Tech also encouraged Sayana to apply to VentureLab
as an internal start-up company within GEDC. Georgia Tech later sponsored a
series of televised symposia where, at one such event, Georgia Tech’s senior
executives and officers were in attendance, and Dr. Laskar was introduced to them
and other audience members as a Principal of Sayana.

36.

Building upon Dr. Laskar’s proprietary technology, Sayana was also
engaged in the development of high-speed wireless signaling technology. Because
of Dr. Laskar’s position as a university employee, ownership of this intellectual

property was vested in Georgia Tech and held in the name of GTRC.

20

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 21 of 87

37.

GTRC is a state chartered 501(c)(3) not-for-profit corporation serving
Georgia Tech. GTRC serves as the contracting entity for all sponsored research
activities at Georgia Tech. Its Board of Directors is comprised of Georgia Tech
faculty, the President of Georgia Tech, others appointed by the President, a
representative from the Georgia Tech National Alumni Association, a
representative from the Georgia Tech Foundation, Inc., and other members from
industry at large. GTRC licenses all intellectual property which is created by
Georgia Tech employees, including faculty members. The intellectual property
licensed by GTRC includes all pertinent patents, copyrights and trade secrets.
GTRC supports and promotes research conducted at Georgia Tech through its
stewardship of funds which are collected for sponsored research, and through its
own financial support of certain research activities. Through technology transfer,
GTRC enables Georgia Tech to maintain partnerships with public and private
sectors of the economy in order to assure that research benefits are widely
disseminated. All funds collected by GIRC are used to support those Georgia Tech
programs requested by the University and approved by the GTRC Board of
Directors. GTRC pays for sponsored research costs, license and royalty fees, and
all corporate operating expenses associated with the work. GTRC supports

Georgia Tech’s grants and funded support programs. GTRC also assists Georgia

21

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 22 of 87

Tech in obtaining quality research space, entering into long-term leases for
specialized research equipment, and conducting other research support programs as
requested by Georgia Tech.

38.

In February 2009 Sayana delivered $90,000 to GEDC to support its
membership in the Center and ongoing GEDC operations. Earlier, Sayana had
paid the salaries of GEDC co-op research assistants during the 2007-2009
academic years and in the approximate total amount of $165,000. Sayana also paid
research expenses of GEDC during academic years 2008-2009 in the approximate
amount of $70,000. Sayana paid to GTRC patent and licensing fees in the
approximate amount of $220,000. In consideration of all these amounts, Sayana
made use of Georgia Tech facilities, research equipment and staff. This use was
authorized, and Sayana’s usage was no different from that of any other GEDC
hosted and affiliated company. Sayana’s usage of the Center’s facilities,
equipment and staff was actively encouraged by Georgia Tech.

39.

Funds paid by Sayana to GEDC in support of membership and the Center’s

ongoing operations enabled it to utilize the Center’s facilities, equipment and

research staff.

22

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 23 of 87

40.

In July 2006 Sayana entered into a License Agreement with the
GTRC, whereby GTRC licensed to Sayana the signaling technology that Dr.
Laskar had developed. In consideration of this license, Sayana granted to GIRC a
10% member interest in the company. Sayana then became committed to
commercializing its licensed technology and earning compensation for itself and
all its members, including GTRC.

Al,

As a Start-up company working from the Center, Sayana was successful in
advancing its licensed technology and positioning itself for sale. The assets of the
company were scheduled for private auction on May 17, 2010 pursuant to a
transaction managed and conducted by Pagemill Partners of Silicon Valley,
California. It was anticipated that Sayana would receive sales proceeds totaling
approximately $30 Million. It was further understood that GTRC would receive

10% of that expected sum, or $3 Million.

The Suspension Of Dr. Laskar From Georgia Tech
42.
This expectation notwithstanding, by letter dated May 17, 2010, Dr. G.P.

Peterson, President of Georgia Tech, suddenly announced to Dr. Laskar: “In

23

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 24 of 87

reviewing the recent cost overruns within the Georgia Electronic Design Center
(GEDC), the Institute’s Department of Internal Audit discovered what they believe
to be substantial evidence of malfeasance on your part including the
misappropriation of Institute resources for the benefit of a company, Sayana
Wireless LLC, of which you are part owner.”

43.

President Peterson informed Dr. Laskar that, “effective immediately, J am
suspending you without pay until the Institute concludes its investigation of this
matter.” (emphasis supplied) At the time of Mr. Peterson’s letter to Dr. Laskar, Dr.
Laskar had been an employee of Georgia Tech for more than 15 years. President
Peterson’s suspension of Dr. Laskar without pay was in direct violation of the
Georgia Tech Faculty Handbook provision governing this matter.

44.

Section 5.10.5 of the Georgia Tech Faculty Handbook in effect at the time of
President Peterson’s notice to Dr. Laskar (the “Faculty Handbook”) provides that
“The President in consultation with the Executive Board shall determine whether a
faculty member confronted with a dismissal charge shall be temporarily relieved of
duties. Unless legal considerations forbid, any such relief from duties will be with

pay.” (emphasis supplied)

24

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 25 of 87

AS.

The final paragraph of Section 5.10.4 of the Faculty Handbook provides that
it is only upon the conclusion of a formal hearing and dismissal by the President
that “the Faculty member shall be suspended from employment without pay from
the date of the final decision of the President.” (emphasis supplied)

46.

The Georgia Institute of Technology is a research university of the
University System of Georgia, but it is not a distinct legal entity from the Board of
Regents of the University System of Georgia. The Board of Regents has vested in
itself the government, control and management of the University System of
Georgia and each of its institutions. There is no provision in the Board of Regents
Policy Manual in effect at the time of President Peterson’s notice to Dr. Laskar (the
“Regents’ Manual”) authorizing the suspension of faculty without pay. As does the
Faculty Handbook, the Regents Manual authorizes suspension without pay of a
faculty member only upon termination: “Upon dismissal by the president, the
faculty member shall be suspended from employment without pay from the date of
the final decision of the president.” President Peterson’s suspension of Dr. Laskar

without pay therefore violated the Regents Manual.

25

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 26 of 87

AT.

Section 5.10.4 of the Faculty Handbook provides that during the pendency
of dismissal procedures, “[e]xcept for such simple announcements as may be
required covering the time of the hearing and similar matters, public statements
and publicity about the case by either the Faculty member or Administrative
Offices should be avoided until the proceedings have been completed.” (emphasis
supplied) Section 8.3.9.2 of the Regents Manual also provides that “[e]xcept for
such simple announcements as may be required covering the time of the hearing
and similar matters, public statements and publicity about the case by either the
faculty member or administrative officers should be avoided until the proceedings
have been completed.”

48.

Representatives of Georgia Tech, including the Defendants, discussed and
coordinated at length the dissemination of information to members of the news
media regarding the suspension of Dr. Laskar. These coordinated actions included:

(1) on the day that President Peterson suspended Dr. Laskar without pay —
May 17, 2010 - Georgia Tech issued a press release and an invitation to the press
regarding the GBI’s execution of 23 differing search warrants against Dr. Laskar’s

personal papers and property and against other named individuals and property;

26

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 27 of 87

(2) Dr. Gary May of Georgia Tech sent emails to the faculty, staff and
students of the School of Electrical and Computer Engineering dated May 17, 2010
and June 22, 2010;

(3) Georgia Tech posted a link on the website of the Georgia Electronic
Design Center to a WSB-TV report on the suspension of Dr. Laskar; and

(4) Georgia Tech improperly discussed with reporter Richard Belcher and
WSB-TV purported facts relating to the suspension of Dr. Laskar and the initiation
of termination proceedings against him, all in violation of Section 5.10.4 of the
Faculty Handbook.

49,

There is no provision in the Faculty Handbook or the Regents Manual
authorizing the termination of a tenured faculty member’s access to email and
voicemail communications systems prior to the termination of the employment of
that tenured faculty member. Despite this lack of authorization, these
aforementioned steps were taken against Dr. Laskar.

50.

There is no provision in the Faculty Handbook or the Regents Manual
authorizing the omission or nondisclosure of the affiliation of a tenured faculty
member in connection with published scholarly papers or conferences after

dismissal proceedings have been initiated against that tenured faculty member but

27

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 28 of 87

before a ruling has been made in such a proceeding. Despite this lack of
authorization, these aforementioned steps were taken against Dr. Laskar.
S51.

There is no provision in the Faculty Handbook or the Regents Manual
authorizing the removal! of a tenured faculty member as the named and published
advisor of a Ph.D. candidate after dismissal proceedings have been initiated against
the tenured faculty member but before a ruling has been made in such a
proceeding. Despite this lack of authorization, these aforementioned steps were
taken against Dr. Laskar.

52.

Each year during the course of his employment at Georgia Tech, Dr. Laskar
entered into a Fiscal Year Employment Contract with the Board of Regents. Each
of these Fiscal Year Employment Contracts consisted of a form agreement setting
forth the terms of Dr. Laskar’s employment.

53.

Among the terms of the 2009 Employment Contract executed by Dr. Laskar
appeared the following language: “This agreement is made expressly subject to :
applicable state and federal laws and to the statutes and regulations of this
institution and to the Bylaws and Policies of the Board of Regents, which are

available for your inspection upon request.” The applicable policies and procedures

28

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 29 of 87

of the Board of Regents were set forth in the Board of Regents Policy Manual,
available at hitp://www.use.ecu/nolicvmanual/. The applicable policies and
procedures of Georgia Tech were set forth in its Faculty Handbook, available at
bito://www.academic. gatech.edu/nancbook/Georgia Institute of Technology Fac
Feaouty Handbook Sep2008.pci. Despite the fact that Dr. Laskar’s Employment
Contract was made expressly subject to the policies and procedures of the Board of

Regents, Defendants acted in flagrant violation of them.

The Substantive Claims Involving Dr. Laskar Assembled And Recorded By
Defendant Hurd
54.

In December 2009, Defendant Jilda D. Garton, the Vice President for
Research at the Georgia Institute of Technology and the General Manager of
Georgia Tech Research Corporation (GTRC) and Defendant Mark G. Allen, the
then Senior Vice Provost for Research and Innovation at Georgia Tech, requested
that Defendant Phillip W. Hurd, the Chief Audit Executive at Georgia Tech’s
Department of Internal Auditing, investigate cost overruns they reported had
totaled approximately $650,000 and were related to a contract called “National
Semiconductor.” Defendant Hurd initially reported that he “thought this was just a

major, colossal accounting screwup.”

29

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 30 of 87

55.

After attending several meetings with Georgia Tech employees and
Defendant Garton, Defendant Hurd determined that he would conduct an audit of
all GEDC finances. Defendant Hurd later discussed the progress of his work with
Defendant Allen, with Dr. Gary Schuster, who was then serving as Provost for
Georgia Tech, with Dr. G.P. “Bud” Peterson, the President of Georgia Tech, and
with Patrick McKenna, Esq., the Chief of Legal Affairs for the Institute.

56.

Defendant Hurd subsequently produced an Official Report of Suspected
Malfeasance (the “2010 Report”) dated April 14, 2010. He delivered that report to
John M. Fuchko, III, the then Associate Vice Chancellor for Internal Audit at the
Board of Regents of the University System of Georgia.

57.

In the 2010 Report, Defendant Hurd declared that Dr. Laskar had, among
other things, made misrepresentations to the IRS, had misused equipment, offices
and laboratory facilities of Georgia Tech in order to further the interests of Sayana,
had violated several Georgia Tech policies and procedures, and had committed
violations of statutory law, which Defendant Hurd identified as O.C_.G.A. $ 40-10-

23, O.C.G.A. $ 40-10-25, and United States Code Title 18, Part I, Chapter 46, §

30

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 31 of 87

1001. The Official Code of Georgia Annotated does not contain either of the two
Georgia provisions which were cited by Defendant Hurd.
58.
Defendant Hurd concluded his 2010 Report by requesting that, if a GBI
agent were to be assigned to investigate the case, that agent should be Mr. Wesley

Horne.
59.

Vice Chancellor Fuchko notified Senior Assistant Attorney General David
S. McLaughlin of the State of Georgia Attorney General’s Office of Defendant
Hurd’s reported findings and charges against Dr. Laskar.

60.

The following week, Mr. McLaughlin met for several hours with
representatives of Georgia Tech and the Office of Internal Audit for the Board of
Regents to discuss the issues raised in Defendant Hurd’s 2010 Report. While
Defendant Hurd considered his presentation to be a “preliminary audit report,” but
he never wrote and signed a final one. He proceeded to present a PowerPoint
summary of his findings and conclusions

61.
Following the meeting, Mr. McLaughlin announced, “It is clear that crimes

have been committed that warrant immediate criminal investigation ... Chief

31

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 32 of 87

Audit Executive Phillip W. Hurd and his team have developed evidence showing
that there is probable cause to believe that crimes have been committed.”
(emphasis supplied)

62.

By letter to the Director of the GBI dated April 21, 2010, Mr. McLaughlin
requested that the GBI pursue a criminal investigation of Georgia Tech’s reported
allegations against Dr. Laskar and Georgia Tech employee, Dr. Stephane Pinel.
Mr. McLaughlin attached to his letter a copy of Defendant Hurd’s 2010 Report.
Mr. McLaughlin noted that he does not generally request a particular special agent
be assigned to a given case, but in this instance he requested that Wesley Horne be
appointed - the same special agent requested by Mr. Hurd.

63.

In his letter, Mr. McLaughlin also emphasized that “Georgia Tech President
G.P. Peterson has pledged the full support of the university and the resources of
Georgia Tech Internal Auditing ... Mr. Hurd and his team stand prepared per Dr.
Peterson’s directive to assist the GBI and Attorney General’s Office in any way

needed.”

64.
The GBI thereafter proceeded to investigat Dr. Laskar and Dr. Stephane

Pinel.

32

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 33 of 87

65.

On the morning of May 14, 2010, and approximately one month after
Defendant Hurd had submitted the 2010 report, both he and GBI Special Agent
Lisa Vorrasi met with Cobb County Superior Court Judge Adele Grubbs.
Defendant Hurd and Agent Vorrasi sought issuance of an Order For Search And
Seizure of Dr. Laskar’s home and two of his automobiles.

66.

Defendant Hurd and Agent Vorrasi asked the Court to issue an Order
directing that any computers seized during the searches did not have to be taken to
the GBI computer forensics lab in DeKalb County, Georgia, but could instead be
taken to the office of Georgia Tech Internal Auditing. Defendant Hurd and Agent
Vorrasi asked the Court to issue an Order allowing non-law enforcement
employees of Georgia Tech to accompany the GBI and to be present upon
execution of the search warrants.

67.

Agent Vorrasi submitted an Affidavit In Support Of Search And Seizure
Warrants. Upon consideration of Agent Vorrasi’s Affidavit and other evidence
submitted under oath, Judge Grubbs adjudged there to be probable cause to believe
that Dr. Laskar had violated State laws. The requested Orders For Search And

Seizure were issued.

33

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 34 of 87

68.

Later that same morning, Defendant Hurd and Agent Vorrasi met with
Fulton County Superior Court Judge Craig Schwall to seek an Order For Search
And Seizure of:

e Dr. Stephane Pinel’s home;
® nine automobiles belonging either to Dr. Laskar, Dr. Pinel or Sayana
employees;
e Dr. Laskar’s office at Georgia Tech;
e Dr. Pinel’s office at Georgia Tech;
e the offices of three other Georgia Tech employees;
® the office of a Sayana employee;
e Sayana’s office space at 75 Fifth Street, NW, Suite 310, Atlanta, Georgia;
e three (3) lab locations at Georgia Tech;
e the person of Dr. Pinel; and
e the person of Dr. Laskar.
69.

Defendant Hurd and Agent Vorrasi asked the Court to provide that any
computers seized during the searches would not have to be taken to the GBI
computer forensics lab in DeKalb County, Georgia but could instead be taken to
the offices of Georgia Tech Internal Auditing.

34

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 35 of 87

70.

Defendant Hurd and Agent Vorrasi asked the Court to issue an Order
permitting non-law enforcement employees of Georgia Tech to accompany the
GBI and to be present upon execution of the search warrants.

71.

Agent Vorrasi submitted an Affidavit In Support Of Search And Seizure
Warrants. Upon consideration of Agent Vorrasi’s Affidavit and other evidence
submitted under oath, the Honorable Judge Schwall adjudged there to be probable
cause to believe that Dr. Laskar had violated State laws. The requested Orders For
Search And Seizure were issued.

72.

Agent Vorrasi’s Affidavit was 21 pages in length, exclusive of exhibits. In
her Affidavit, the Agent stated that Dr. Laskar had used his position at Georgia
Tech to steal money and other resources from the Institute, including equipment,
lab space, employees, specialized licensed software, computers and computer
servers. fn the section of her Affidavit entitled “Sources of Information,” Agent
Vorrasi wrote that “Georgia Tech Director of Internal Auditing Philip [sic] W.
Hurd is affiant’s primary source of information for this affidavit... He and his
audit team are responsible for conducting the investigative audit which led to

discovering the crimes alleged in this affidavit. He and his audit team have

35

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 36 of 87

reviewed thousands of emails and records. The facts presented herein are
gleaned from this review. Additional facts contained herein are known
personally by Mr. Hurd... [and through his] review of [certain records]... and
interviews with [certain Georgia Tech staff]... Unless otherwise indicated, all
facts presented herein are derived from my conversations and communications
with Mr. Hurd.” (emphasis supplied)
73.
Agent Vorrasi’s Affidavit referenced what Defendant Hurd and his Georgia

Tech Audits team “examined,” “retrieved,” “imaged,” “identified,” “found,”
“discovered,” “revealed” and “determined.” Four times she used either the phrase
“Based upon my conversations with Mr. Hurd,” or “According to Mr. Hurd.” The
Agent additionally employs the phrase “According to Audits” on four occasions

and utilizes the phrase “According to Georgia Tech” at 24 separate places in the

Affidavit.

Misrepresentations That Sayana Used Office Space Without Payment
74,
Mr. Hurd reported to Agent Vorrasi that Sayana had wrongfully occupied

and used office space in Georgia Tech’s Technology Square Research Building

36

 

 
Case 1:18-cv-04570-WMR Document 1 Filed 09/28/18 Page 37 of 87

(“TSRB”), explaining that Sayana should have paid Georgia Tech to lease the
space.
75.

Defendant Patrick A. Jenkins testified under oath and before a representative
of the Attorney General’s office that no evidence had been found demonstrating
the existence of a lease for office space by and between Georgia Tech and Sayana.

76.

Defendant Hurd admitted under oath that he had not found a single invoice,
bill or contract to show that GEDC members generally were paying for office
space, for their use of computers, or for their use of CAD labs or anything else.

77.

Defendant Jenkins subsequently admitted under oath that he was not
aware of any evidence demonstrating that GEDC company members whose
names appeared on a map of the TSRB, including G-Tronix, Tepyl, Terabit,
Quellan, Agilent, Microsoft, Neuromorphix, Whiper, Sienna or OFS had any
lease or contract obligation to pay for use of office space at the Technology
Square Research Building (“TSRB”). Defendant Jenkins testified that he
“was not directed to look inte those [companies] ... 1 was only directed to

look at Sayana.” (emphasis supplied)

37

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 38 of 87

78.

Dr. Paul Hasler, a Professor in the School of Electrical and Computer
Engineering and the founder of two start-ups that had become GEDC member
companies, gave a sworn statement specifying that some of the benefits of GEDC
membership included access to and the use of space within TSRB when available.

79,

Dr. Gary May testified under oath and before a representative of the
Attorney General’s office that the benefits of GEDC membership included the
ability to use GEDC equipment and facilities. He testified that TSRB does not
charge rent and that, if a company had an office space in TSRB, that company by
definition did not pay rent.

80.

Dr. May testified under oath that the companies Pirelli, Microsoft, Quellan,
G-Tronix, Agilent and Neuromorphix all had office spaces in TSRB, and none of
them was charged for their space. He explained that there was no charge for using
TSRB space.

81.

In contrast, Defendant Jilda D. Garton testified under oath and before a

representative of the Attorney General’s office that, while GEDC bylaws provided

that GEDC member companies had “fa]ccess to GEDC resources, personnel! and

38

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 39 of 87

activities,” the phrase “access to resources” meant only that GEDC members could
observe things being used and observe students at work, and could suggest
problems for students to work on, and could engage in discussions about research
results. Defendant Garton testified that such access did not mean that GEDC
members could actually use GEDC resources or personnel. She further testified
that use could occur only after the Center had established a cost center so that
Georgia Tech was paid for the use of its equipment and facilities.

82.

Defendant Mark G. Allen testified under oath and before a representative of
the Attorney General’s office that a GEDC member company was able to use
laboratory tools, CAD tools, laboratory equipment, or computers, only after a
sponsored research agreement was entered into or a cost center was established, by
which the member company would be billed. However, Defendant Allen was
subsequently forced to concede that he was not aware of this being done with any
GEDC member company.

83.

Defendant Garton testified under oath and before a representative of the
Attorney General’s office that she was not personally aware of other centers or
individual professors who were, like Dr. Laskar, using GEDC resources to

manufacture chips. She testified that she was not personally aware of any person

39

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 40 of 87

using chips designed with Georgia Tech equipment and for use by start-up
companies.
84,

Defendant Garton’s lack of knowledge notwithstanding, Defendant Allen
co-founded a company called Axion Biosystems while he was working at Georgia
Tech. Axion Biosystems used Georgia Tech equipment to design its chips and
made use of Georgia Research Alliance (“GRA”) funds to produce its chip
prototypes. The GRA is an independent not-for-profit organization operating in
conjunction with the state of Georgia’s Department of Economic Development and
has as its objective the expansion of research and commercialization capacity
within Georgia’s universities in developing the state’s technology economy.

85.

Defendant Allen testified under oath and before a representative of the
Attorney General’s office that it was appropriate to use GRA Phase | and Phase 2
funds to advance prototypes in order to make them available for
commercialization.

86.

Georgia Tech Auditor Larry Webster wrote in a document he entitled

“Lessons Learned,” under the section heading “Institute Center Policy,” that “OSP

[Office of Sponsored Programs] and GT [Georgia Tech] have a Center policy,

40

 

 

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 41 of 87

which has rules and procedures for establishing and running a GT Center. GEDC
was ‘grandfathered-out’ of these rules, because they existed before the rules were
finalized (about November 2006). For GEDC, this led to educational memberships
being promoted (unrestricted gifts to GTF [Georgia Tech Foundation]) and an
Advisory Board that did not work as intended to guide & monitor GEDC activity.”
Mr. Webster suggested that “The President’s Office should review all Institute
Centers, and specifically approve any other Centers that are allowed not to follow
Institute policy.” Under the section heading “Gifts from Sponsors,” Mr. Webster
again noted that “GEDC was grandfathered out” of “the Institute’s Center
Policies.”
87.
In their Responses to Dr. Laskar’s First Requests To Admit, dated February

18, 2011, the Board of Regents of the University System of Georgia admitted that
they did not possess any agreements, contracts, or other instruments pursuant to
which they leased space, equipment, or resources from GEDC or any other
division or center of Georgia Tech to any of the following 45 companies:

(1) Adtran, Inc.;

(2) ADVA Optical Networking;

(3) Agilent Technologies;

(4) Anadigics, Inc.

41

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 42 of 87

(5) Analog Devices, Inc.

(6) Ardext Technologies;

(7) Anritsu Corporation

(8) Asahi Glass Co., Ltd.;

(9) BarcoView, LLC;

(10) Broadcom Corporation;

(11) CIENA Corporation;

(12) Echostar Communications Corporation;
(13) Ecna International;

(14) EG Technology, Inc.;

(15) Engent, Inc.;

(16) Freescale Semiconductor, Inc.

(17) Hewlett Packard Development Corporation, L.P.;
(18) HP Labs;

(19) Infinera;

(20) Integrated Device Technology;

(21) Intel;

(22) IVivity, Inc.;

(23) Kipper Technologies, Inc.;

(24) Lancope;

42

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18

(25)
(26)
(27)
(28)
(29)
(30)
(31)
(32)
(33)
(34)
(35)
(36)
(37)
(38)
(39)
(40)
(41)
(42)
(43)

(44)

LumoFlex;

Manheim;
Nanoventions;

National Semiconductor;
Neuromorphix;

Nexidia;

Nortel Networks;

On Semiconductor;
Optical Fiber Solutions;
Quellan, Inc.;

Raytheon Company;
Rhode & Schwartz;

RF Micro Devices, Inc.;
Schlumberger, Ltd.;
Siemens;

SoC Solutions;

Sun Microsystems, Inc.;
Texas Instruments;
VeriSign Communications Services;

Vocalocity, Inc.;

43

Page 43 of 87

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 44 of 87

(45) Zoobeat.

Misrepresentations Made Regarding Sayana’s Purported Use
Of Equipment
88.

Dr. May testified under oath and before a representative of the Attorney
General’s office that GEDC membership entitled member companies to use GEDC
laboratory equipment, design tools and software, and to use its facilities and
programs to design chips.

89.

Defendant Patrick A. Jenkins testified under oath and before a representative
of the Attorney General’s office that Sayana employees had used Cadence software
belonging to Georgia Tech and that such use was wrongful. But Defendant
Jenkins acknowledged that his basis for concluding this was based only on the fact
he had found no written agreement between Sayana and Georgia Tech that would
allow Sayana to use the software.

90.

Defendant Hurd communicated to Agent Vorrasi that Sayana had used a

60GHz channel measurement device owned by Georgia Tech, explaining that the

device was the only one of its kind in “this part of the country.” Defendant Hurd

44

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 45 of 87

reported to Agent Vorrasi that Sayana had not paid but should have paid monies to
Georgia Tech for purported “leased time” when using the device.
91,

The device to which Defendant Hurd referred is a Vector Network Analyzer
(“VNA”), and GEDC had approximately five (5) VNAs within its inventory. All of
the equipment was purchased using research funding that Dr. Laskar had secured
for Georgia Tech. All GEDC member companies, including Sayana, were allowed
to use the VNAs at no additional cost and without written agreements in place to
use them.

92.

All GEDC member companies also had electronic access to Georgia Tech’s
Cadence software.

93.

Defendant Jenkins testified under oath and before a representative of the
Attorney General’s office that he had no evidence in hand to show that GEDC
member companies whose names appeared on a map of TSRB, including G-
Tronix, Tepyl, Terabit, Quellan, Agilent, Microsoft, Neuromorphix, Whiper,
Sienna or OFS, had contracts in place or were being billed at a cost center for their
use of space, computers, CAD machines, or laboratory equipment. Defendant

Jenkins explained this omission 1n his proof by testifying he “was only directed to

45

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 46 of 87

look at Sayana.” He also testified that he had no evidence to show that any GEDC
member company had a cost center established so that they could access Georgia
Tech computers, CAD equipment, laboratory equipment or office space, and,
importantly, that he “was not asked to look at it.” (emphasis supplied)

95.

Dr. May testified under oath that the companies Pirelli, Microsoft, Quellan,
G-Tronix, Agilent and Neuromorphix, as GEDC member companies, all had the
right to use laboratory equipment and CAD design tools at no charge because as a
GEDC member company this right of use was a recognized part of their benefits.

96.

Defendant Jenkins admitted under oath that he had not pulled up logs
for other GEDC member companies having electronic access to Cadence
software, that he “only looked at the log for the [sic] Sayana” and that he
“was directed to look at Sayana.... I was not directed to look at other
GEDC members. I was directed to look at Sayana .... I was instructed to
identify Sayana users.” Defendant Jenkins testified that he did not look at
GEDC policy or practice with respect to the use of Cadence software because

he was not directed to do so. (emphasis supplied)

46

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 47 of 87

97.

In addition to this significant acknowledgment, Defendant Jenkins also
admitted under oath having recalled “something about” a company called Agilent
having a CAD lab at GEDC as well as access to CAD tools. Defendant Jenkins
acknowledged under oath that he had no evidence that Agilent was billed for such
usage or such access, or had a lease or other contract with Georgia Tech regarding
its access to the CAD lab or its use of Cadence or other CAD tools. Defendant
Jenkins also admitted that Agilent had purchased a CAD tool for the GEDC that
was made available for use by other GEDC member companies.

98.

Professor Hasler wrote in a sworn statement that “some of the benefits of
GEDC membership included the right to use Georgia Tech computers on a dual-
use basis, access and use to laboratory equipment, space and equipment, access and
use of CAD and other design tools ....” Dr. Hasler went on to report that
“Georgia Tech faculty are allowed and encouraged to utilize laboratory resources
to develop technology in their lab and/or research group to where it could be
commercially transitioned, either through licensing or start-up activities.” !
Continuing, the Professor noted that “many of my colleagues . . . have utilized

Institute resources for developing technology to a level for commercial transition

A7

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 48 of 87

attempt. It is my understanding that this is standard practice or procedure at

Georgia Tech.”

Misrepresentations Made About Dr. Laskar Having Stolen Computers
99.

Defendant Hurd communicated to Agent Vorrasi that Dr. Laskar had stolen

computers from Georgia Tech by giving them to Sayana employees.
100.

Defendant Hurd later testified under oath and before a representative of the
Attorney General’s office that Dr. Laskar had not authorized the use by GEDC
member start-up companies, including Axion, Technon and GTronix, of GEDC
provided computers. But Defendant Hurd later acknowledged under oath that he
had not investigated whether Axion, GTronix or GEDC member companies had
purchased their own computers or utilized ones provided by GEDC.

101.

Defendant Hurd also acknowledged under oath that he had not investigated
whether Microsoft, Cyber Semi, Samsung, Panasonic, Sony, AT&T or Nokia were
permitted to use GEDC computers.

102.
When questioned under oath by Mr. McLaughlin during a court hearing

conducted on February 8, 2016 in the criminal case brought against Dr. Laskar,

48

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 49 of 87

Chris Evans, the former Director of Operations for the GEDC, testified that the
computer which Sayana employees took to the Centergy Building were computers

that had been donated by Agilent for use by start-up companies.

Misrepresentations Made Regarding The Nature Of The Materials
Which Sayana Had Transported to ETRE
103.

Defendant Hurd reported to Agent Vorrasi that Sayana had contracted with
several companies to develop and deliver functional chip schematics, chips and
chip test results.

104.

Sayana in fact had contracted with Electronics and Telecommunications
Research Institute (““ETRI’’) by means of a Collaborative Research Agreement, and
pursuant to which Sayana would send chip prototypes to ETRI for further testing
and evaluation.

105.

Defendant Hurd reported to Agent Vorrasi that Sayana had entered into
several contracts for chips representing fully finished, functional products.
Defendant Hurd reported falsely to Agent Vorrassi. The chips which Sayana

contracted to deliver, and in fact delivered to ETRI, were chip prototypes.

49

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 50 of 87

106.

Almost one year later, Defendant Hurd was forced to acknowledge under
oath and before a representative of the Attorney General’s office that he had
examined Sayana’s VentureLab application and had learned that part of Sayana’s
proposed VentureLab funding was to provide chip prototypes to customers.
Defendant Hurd testified that Sayana’s application specified that funding for Phase
1 and Phase 2 would go toward chip prototypes and the testing of chips.
Defendant Hurd testified that “There’s nothing wrong with GEDC making
prototype chips,” and he further admitted that he knew the chips that were
provided by Sayana to ETRI were prototype chips and test chips delivered so that
ETRI could evaluate whether the chip technology properly worked and that he
chips being so used could not be resold.

107.

In their Responses to Dr. Laskar’s First Requests To Admit, dated February
18, 2011, the Board of Regents of the University System of Georgia (of which
Georgia Tech is an organizational unit) admitted that the chips fabricated by CMP
in Tapeout reference number GT_Oct2008 were prototype chips with no

commercial resale value.

50

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 51 of 87

108.

In a letter dated May 30, 2009, from Mr. Wooyong Lee, the head of ETRI’s
engineering staff, to Dr. Laskar, Mr. Lee stated in part: “Pursuant to the [August 1,
2006] and |January 19, 2007] Collaborative Research Agreements ... ETRI
acknowledges that it has received from Sayana the TEST UNIT SAMPLES.” (both
phrases inside brackets and emphasis in the original).

109.

In a sworn statement read into the record at Dr. Laskar’s faculty hearing on
March 30, 2012, Mr. Wooyong Lee testified that “[t]purpose of the Collaborative
Research Agreements [between ETRI and Sayana] was to engage in cooperative
research to better understand the applications for exchange and exchange access
services of various technologies, including low cost 60 gigahertz integrated
receiver technology... Sayana provided ETRI with periodic research reports
regarding its research .. . and with samples of chips manufactured by Circuits
Multi-Projets ... so that ETRI could test the chips and verify the workability of the
concept. ETRI paid Sayana for the periodic research reports. ETRI did not pay
Sayana for any of the CMP chip samples Sayana provided. All of the chips Sayana
provided to ETRI were prototype chips with no commercial or no resale value.
None of the chips Sayana provided to ETRI were sold to ETRI for commercial use

or resale.”

51

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 52 of 87

110.

in this regard, Mr. McLaughlin of the Attorney General’s Office relied upon
Defendant Allen to help him understand the technology at issue in the case and
whether it was a fully developed, useable, marketable chip. For example, by e-mail
sent in October 2011, Mr. McLaughlin specifically asked for “the
technology/patent/license experts,” among whom he included by name “Mark
Allen and Kevin Wozniak, collectively, perhaps — to take a look at” four types of
evidence to test “our theory” that “the CMP-chips and all of the development and
testing on the chips was a preordained journey from license agreement to the
useable, marketable, wireless technology chip which ended up in those test kits.”

111.

Defendant Allen’s assistance notwithstanding, Defendant Hurd reported to
Agent Vorrasi that Dr. Laskar had stolen money from Georgia Tech through
deceptive practices that were intended to cause Georgia Tech to pay a French chip
manufacturer, Circuits Multi-Projets (“CMP”) for chips used and sold by Sayana in
an amount that “may be as great as $700,000 to $1,470,000.”

112.
Yet, almost one year later, Defendant Hurd was forced to acknowledge

under oath and before a representative of the Attorney General’s office that he had

52

 

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 53 of 87

no evidence that Dr. Laskar had taken or used any of the CMP chips for which
Georgia Tech had reportedly paid $1.4 million.
113.

As previously noted, Mr. Wooyong Lee, an employee of ETRI, submitted a
sworn statement demonstrating that ETRI had paid Sayana for periodic research
reports and had not paid Sayana for any of the CMP chip samples which Sayana
had provided to it. Mr. Lee reported that all of the chips which Sayana had
provided to ETRI were prototype chips with no commercial retail or sale value.
None of the chips which Sayana provided to ETRI, he stated, were sold to ETRI
for commercial use or resale.

114.

Professor Hasler, previously identified as a Professor in the School of
Electrical and Computer Engineering and the founder of two start-up companies
which became GEDC member companies, stated in a sworn statement that it was
“common practice” at Georgia Tech “for start-up companies to provide research
prototypes to customers for evaluation and testing, including prototype integrated
chips, often at no additional cost to the start-up company so long as the chips

cannot be resold for commercial use.”

53

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 54 of 87

Misrepresentations That Work Performed On CMP Chips
Was Not For The Benefit Of Georgia Tech
115.

Defendant Hurd reported to Agent Vorrasi that a variety of documents and
things, including research logs and papers, files, notes, journals, data runs,
schematics, reports, summaries, Gerber files, and the testing of chips would all
show that the work performed on the CMP chips was for Sayana and not for
Georgia Tech.

116.

And yet, almost one year later, Defendant Hurd acknowledged under oath
and before a representative of the Attorney General’s office that he had not
bothered to find out whether any of the CMP chips paid for by Georgia Tech were
used in connection with research dissertations being written by Georgia Tech
students. He explained that he had not done so because, “[i]t wasn’t relevant to my
investigation.” Significantly, Defendant Hurd admitted that Georgia Tech should
pay for chips used in connection with student research dissertations.

117.

Defendant Jenkins had e-mailed Mr. McLaughlin in the Attorney Generai’s

office on May 19, 2010 to report that “the OCTO08 [sic] chip run was part of

Sayana’s business with ETRI.”

54

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 55 of 87

118.

Defendant Jenkins importantly omitted from that report the fact that the chip
run referenced as GT_Oct2008 was used for research upon which researchers
affiliated with Georgia Tech based scholarly papers and presentations.

119,

Matthew Leung, a researcher affiiated with Georgia Tech’s School of
Electrical and Computer Engineering, stated by sworn affidavit that he co-authored
the presentation “Millimeter-Wave CMOS Power Amplifier Technology,” for the
GEDC/GTAC Industry Review and co-authored the scholarly articie “On the
Development of CMOS mmW and sub-THz Phased Array Technology for
Communication/Sensing Nodes,” based on research obtained from several CMP
chip runs including CMP chip run GT Oct2008.

120.

David Yeh, a researcher affiliated with Georgia Tech’s School of Electrical
and Computer Engineering, stated by sworn affidavit that he co-authored an
invited paper and corresponding presentation materials for the Custom Integrated
Circuits Conference entitled “60 GHz CMOS/PCB Co-Design and Phased Array
Technology,” co-authored the three presentations entitled (1) “WE4D-2: High-
speed Signal Processing Circuits for Wireless and Optical Communication

Systems,” (2) “Ultra Low Power Continuous Time Analog and Mixed-Signal

55

 

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 56 of 87

Multi-Gigabit Technologies,” (3) “Ultra Low-Power Mixed Signal Multi-Gigabit
Technologies,” and co-authored the three scholarly articles (1) “Low-Power
Analog-to-Digital Converter for Multi Gigabit Wireless Receiver in 90 nm
CMOS,” (2) “40pJ/o1t90nm CMOS Broacband Demodulator with Fully integrated
DSP Modem,” and (3) “On the Development of CMOS mm W and sub-THz
Phased Array Technology for Commmunication/Sensing Nodes,” based on research
obtained from several CMP chip runs including CMP chip run GT_Oct2008.

121,

Defendant Jenkins e-mailed Mr. McLaughlin on May 21, 2010 to inform
him that “Chip run SO9C7-] (aka GT_JAN2007) — that Georgia Tech paid $177K.
for was for Sayana’s deliverable to ETRI.”

122.

Defendant Jenkins omitted from that report the fact that the chip run
referenced as GT_Jan2007 was used for research upon which researchers affiliated
with Georgia Tech based scholarly papers and presentations.

123.

Chang-Ho Lee, a researcher affiliated with Georgia Tech’s School of

Electrica! and Computer Engineering, stated by sworn affidavit that he co-authored

the presentation “Circuit and Module Challenges for 60GHz Gb/s Radio,” based on

56

 
Case 1:18-cv-04570-WMR Document 1 Filed 09/28/18 Page 57 of 87

research obtained from several CMP chip runs including CMP chip run
GT Jan2007.
124.

David Yeh a researcher affiliated with Georgia Tech’s School of Electrical
and Computer Engineering, stated by sworn affidavit that he co-authored the five
presentations entitled (1) “Circuit Module Challenges for 60 GHz Gb/s Radio,” (2)
“CMOS mmW Radar Technology,” (3) “ISSCC 2008 Session 6/UWB
Potpourri/6.8 A 90 nm CMOS 60 GHz Radio,” (4) “60 GHz 90nm CMOS Front-
end Technology,” and (5) “ISSCC: 60 GHz CMOS 90 nm Radio with integrated
signal processor,” and co-authored the six scholarly articies entitled (1) “A
SOC/SOP Co-design approach for mmW SMOS in QFN Technology,” (2)
“60GHz CMOS: the intersection of gaming and connectivity,” (3) “17-dB-Gain

|

CMOS Power Amplifier at 60 GHz,” (4) “60GHz CMOS 90 nm Radio with
Integrated Signal Processor,” (5) “60 GHz Single-Chip 90 nm CMOS Radio with
Integrated Singie Processor,” and (6) “Development of CMOS Based Circuits for
60 GHz WPAN applications,” and co-authored an invited paper and corresponding
presentation materials for the Custom Integrated Circuits Conference entitled “60
GHz CMOS/PCB Co-Design and Phased Array Technology,” based on research

obtained from several CMP chip runs including CMP chip run GT_Jan2007. :

57

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 58 of 87

125.

By e-mail dated November 15, 2010, Defendant Jenkins wrote to Mr.
McLaughlin: “the CMP stuff will show that [Sayana Co-founder Stephane Pinel is]
ordering the items on behalf of GT [Georgia Tech]|—-which is very damning,
because the Sayana reports to ETRI, along with the contracts, show the true
purpose of the chip orders .. . they cannot deny the deliverables, reports and
contracts between Sayana and ETRI, which in my very humble opinion, sinks their
boat.”

126.

But Defendant Jenkins omitted from his communication the fact that every
chip run ordered from CMP was used for research upon which students and/or
researchers affiliated with Georgia Tech based scholarly papers, presentations,
masters theses and/or doctoral dissertations.

127.

Chang-Ho Lee, a researcher affiliated with Georgia Tech’s School of
Electrical and Computer Engineering, stated by sworn affidavit that he co-authored
scholarly papers and presentations based on research obtained from several CMP

chip runs including CMP chip runs GT_ Apr 2007 and GT_Jan2007.

58

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 59 of 87

128.

Matthew Leung, a researcher affiliated with Georgia Tech’s Scnoo! of
Electrical and Computer Engineering, stated by sworn affidavit that he co-authored
scholarly papers and presentations based on research obtained from several CMP
chip runs inclu CMP chip runs GT Apr2007, GT2 Ju!2007, GTi Jan2008,
GT3_Jan2008, GTi_Apr2008, GT2_Apr2008, GT3_Apr2008, GT_May2006,
GT2_Jan2008 and GT_Oct2008.

129,

David Yeh, a researcher affiliated with Georgia Tech’s Schoo! of Electrical
and Computer Engineering, stated by sworn affidavit that he co-authored scholarly
papers and presentations based on research obtained from several CMP chip mins
including CMP chip rans GT _Sepit2006, GT_May2006, GT_Jan2007,

GT Apr2007, GT1_Ju!2007, GT2_Jul2007, GTI Jan2008, GT2_Jan2008,
GT3_Jan2008, GT1_ Jul2008, GT2_Jui2008, GT3_Jul2008, GT] Apr2008,
GT2 Apr2008, GT3_ Apr2008 and GT_Oci2008.

130.

Defendant Allen testified under oath that there were certain circumstances in
which it was entirely appropriate to use unrestricted funds to pay for the production

of chips that would be used by Georgia Tech students in published reports, in

59

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 60 of 87

research dissertations, or in publications authored by Georgia Tech faculty
members.
131.

Importantly, Professor Hasler’s sworn statement reported that “it is standard
practice and procedure” for Georgia Tech “to use unrestricted funds, VentureLab
funds, and gifts to pay for research in the fabrication of building block and
prototype chips to be used in student dissertations and faculty peer review journals
and other publications and presentations.”

132.

Georgia Tech later admitted, in response to formal Requests for Admission
served upon it in pending litigation, that Georgia Tech had conducted no
investigation into whether student Master thesis submissions and doctoral
dissertation presentations had been based on, had referenced, or had included any
intellectual property related to computer chips manufactured by CMP for Georgia
Tech, GEDC or Sayana. Georgia Tech further admitted that, prior to suspending
Dr. Laskar, it had not conducted an investigation into whether any computer chips
manufactured by CMP had been sold or would be the subject of a scientific or
academic publication, including without limitation conference papers or journal

articles authored or co-authored by any employee or student of Georgia Tech.

60

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 61 of 87

133.

Before Georgia Tech suspended Dr. Laskar without pay and the GBI
conducted its coordinated raids on May 17, 2010, Georgia Tech made no analyses,
reports, Geterminations, studies, interviews, audits or other public records
regarding whether the chips fabricated by CMP were solely for academic purposes,
solely for provision of prototypes to ETR] and Microsoft, or for both purposes
dually. The Board of Regents of the University System of Georgia (of which
Georgia Tech is an organizational unit) responded “Georgia Tech has no
responsive documents,” to the following five Georgia Open Records Act

(“GORA”) requests:

GORA Request Ne. 6: All, if any analyses, reports, determinations, studies,
mterviews, audits or other public record prepared by
or for Georgia Tech at any time to ascertain or
determine as a matter of fact how many chips
fabricated by CMP were solely for academic
purposes, i.e., doctoral dissertations, masters theses,
presentations or scientific papers;

GORA Request No. 7: Ail, if any analyses, reports, determinations, studies,
interviews, audits or other public record prepared by
or for Georgia Tech before... May 17, 2010 to
ascertain or determine as a matter of fact how many
chips fabricated by CMP were solely for academic
purposes, i.e., doctoral dissertations, masters theses,
presentations or scientific papers;

GORA Request No. 8: All, if any analyses, reports, determinations, studies,
interviews, audits or other pubic record prepared by
or for Georgia Tech to ascertain or determine as a

61
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 62 of 87

maiter of fact how many chips fabricated by CMP
were for academic purposes and the dual purpose
of providing prototype — not for commercial sale —
chips for ETRI or Microsoft;

GORA Request No. 9: Ali, if any analyses, reports, determinations, studies,
interviews, audits or other public record prepared by
or for Georgia Tech to ascertain or determine as a
matter of fact how many chips fabricated by CMP
were solely and only for the purpose of providing
prototype — not for commercial sale — chips for
ETRI or Microsoft; and
GORA Request No. 10: All, if any analyses, reports, determinations,
studies, interviews, audits or other public record
prepared by or for Georgia Tech to ascertain or
determine as a matter of fact how many different
or separate chips actually are contained in each
“tape out” or fabrication by CMP.

134,

In point of fact, every CMP chip production (referred to as a tape run)
identified by Defendants had generated published peer-review journal articles,
conference papers, and dissertations. These production tape runs included chips
which ETRI received. At least 35 dissertations prepared by Georgia Tech doctoral

candidates were in some manner or way related to these tape runs.

62

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 63 of 87

Misrepresentations Made About The Falsification Of A Chip Invoice
135.

Defendant Hurd testified under oath and before a representative of the
Attorney General’s office that Dr. Laskar had caused a Georgia Tech employee
named Cathy Beam to falsify a quote pertaining to CMP chip production.

136.

Yet, Defendant Hurd later admitted under oath that Ms. Beam did not inform
him that Dr. Laskar had told her to falsify a quote. Defendant Hurd testified and
admitted that he had found no evidence showing that Dr. Laskar had directed or
instructed anyone to falsify an invoice. He also testified and admitted that an
employee in Georgia Tech’s Internal Audits department interviewed Ms. Beam,
anc that a transcript of that interview recorded Ms. Beam’s report that “Chris
[Evans] told me to make up a quote.”

137.

During Stephane Pinel’s Georgia Tech faculty hearing regarding his
dismissal from Georgia Tech, Defendant Jenkins testified that an exhibit presented
to him reflected “the fake quote that was forged by Kathy [sic] Beam upon

direction of Chris Evans and, I believe, Dr. Laskar.”

63

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 64 of 87

138.

Ms. Beam was questioned on more than one occasion by the GBI. She
never reported to the GBI that Dr. Laskar had instructed or requested her to falsify
a quote.

139.

In a hearing before The Honorable Robert McBurney of the Superior Court

of Fulton County on January 26, 2016, Ms. Beam testified that Chnis Evans had

instructed her to create the quote.

Misrepresentations That Sayana Transmitted Georgia Tech Intellectual
Property For Which Sayana Had No License Extending To ETRI
140.

In the 2010 Report, Defendant Hurd stated that Sayana delivered to ETRI

intellectual property that may have been Georgia Tech’s property.
141.

In April 2010, during a meeting lasting several hours, Defendant Hurd made
PowerPoint presentation to Mr. McLaughlin, representatives of Georgia Tech and
the Office of Internal Audit tor the Board of Regents. The siides from Defendant
Hurd’s presentation accuse Seyana of delivering inteliectual property to ETRI that

may have been Georgia Tech’s property.

64

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 65 of 87

142.

Defendant Hurd testified under oath and before a representative of the
Attorney General’s office that Sayana had a contract with the GIRC pursuant to
which it licensed certain intellectual property in existence in 2006, but that Sayana
had filed and used 14 additional patents covering intellectual property belonging to
Georgia Tech and for which Sayana had been granted no license. Defendant Hurd
cited Mr. Wozniak as the source of his information. Defendant Hurd
acknowledged that he had not questioned Dr. Laskar about this.

143.

Defendant Hurd testified under oath and before a representative of the
Attorney General’s office that Sayana had given or sold intellectual property or
things to ETRI that it was not licensed to use and that Dr. Laskar had permitted
ETRI employees to visit Georgia Tech laboratory facilities where they were
exposed to Georgia Tech intellectual property.

144.

Yet, Defendant Hurd later admitted under oath that ETRI had a separate
contract with Georgia Tech allowing it to access GEDC labs, and that other
companies, including Microsoft, Texas Instruments, AT&T and Hewlett Packard,
all had similar contracts with Georgia Tech which allowed them to access GEDC

labs.

65

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 66 of 87

145.
Defendant Hurd later admitted under oath that he had not investigated
whether any of the information provided to ETRI was derived from publicly

available articles discussing 60 GHz research.

Misrepresentations That Dr. Laskar Defrauded ETRI
146.

During the aforementioned meeting in April 2010, Defendant Hurd made a
PowerPoint presentation to Mr. McLaughlin, representatives of Georgia Tech and
the Office of Internal Audit for the Board of Regents and presenting slides which
accused Dr. Laskar of deirauding ETRI.

147,

Detendant Hurd reported to Agent Vorrasi that Dr. Laskar had deceived
ETRI.

148,

Defendant Hurd testified under oath and before a representative of the
Attorney General’s office that Sayana “couldn’t provide the exact chips, so they
took other chips [owned by Georgia Tech] to fool ETRI’s accounting . . . they sent
to ETRI the other chips that they wanted to just fool their accounting so they could

get payment.” There was and there is no evidence to substantiate this charge.

66

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 67 of 87

149.

Sayana employees Bevin Perumana, Saikat Sarkar and Padmanava Sen, all
testified when deposed by Mr. McLaughlin on June 24, 2010 that Sayana files
labeled “Take” indicated only that these files were preliminary layouts and not
final layouts. They all further testified that the “fake” designation was used only to
distinguish between preliminary and final layouts and had nothing to do with the

authenticity of the files.

Misrepresentations That Georgia Tech Had Strict Policies and Procedures
Regarding Faculty Members’ Public and Private Work
150.

Defendant Hurd reported to Agent Vorrasi that strict policies and procedures
existed at Georgia Tech to control how faculty members “blend[]” their “public
and private” work. But the testimony of Defendant Hurd and others demonstrates
that this is not true.

151.

Steve Cross, the Executive Vice President for Research at Georgia Tech,
toid Kwang Wook Bae, an executive at Samsung, that what had happened with Dr.
Laskar occurred because Georgia Tech and the GTRC did not have well

established rules in place and that they were working to establish guidelines.

67

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 68 of 87

152.
Defendant Mark Allen told Mr. Bae that what happened with Dr. Laskar
occurred because Georgia Tech and the GTRC did not have well established rules

in place and that they were working to establish guidelines.

Misrepresentations Made About A Theft of Resources
Including Emplovees from Georgia Tech
153.

Defendant Hurd reported to Agent Vorrasi that Dr. Laskar used his position

at Georgia Tech to steal resources from Georgia Tech including employees.
154.

Defendant Hurd testified under oath and before a representative of the
Attorney General’s office that he reached e conclusion that Sayana compelled
students who were paid by Georgia Tech to work 100% of their time for ETRI
based on his review of a Collaborative Research Agreement between Sayana and
ETRL

155.

Defendant Hurd further testified that he did not know whetlier the term

“load” used in the Collaborative Researcii Agreement signified a percentage of (a)

any and all time the worker could work during a 24-hour day, or (b) the time the

68
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 69 of 87

worker could work for Sayana outside of the worker’s other professional
commitments.
156.

Defendant Hurd testified that he never contacted ETRI to ask what the term
“load” meant in the context of the Collaborative Research Agreement. When the
hearing Chairman sought to clarify wnat Defendant Hurd cid and did not know
about the meaning of the term “load,” and asked “this issue about well, were they
doing their day a week or other things, that is stil sort of cloudy right now,”
Defendant Hurd responded, “That, that is cloudy.”

157,

Defendant Jenkins testified under oath and before a representative of the
Attomey General’s office that he never contacted anybody at ETRI to ask what the
term “load” meant in the context of the Collaborative Research Agreement because
he “thought it was self-explanatory.” He further testified that the term “load” was
nowhere defined in the Collaborative Research Agreement.

158.

In a sworn statement read into the record at Dr. Laskar’s facuity hearing on
March 30, 2011, Mr. Wooyong Lee testified that “As part of its Collaborative
Research Agreement with ETRI, Sayana designated Dr. Joy Laskar, Dr. Stephane

Pinel, Dr. Kyutae Lim, Dr. Saikat Sarkar, Sen Padmanava and R. Mukhopadhyay

69

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 70 of 87

as members of its research team and agreed that those persons would spend a set
percentage of the time each was permitted io work for Sayana on our project. EPRI
understood that the individuals identified ... were not full-time employees of
Sayana and thus would not be able to spend ali of their time on our collaborative
research projects. For example, ETRI understood that by stating Saikat Sarkar
would work a hundred percent load, that Sayana was agreeing only that all of

Sarkar’s time with Sayana wou!d be spent on our joint project.”

Actions By Defendants In Conjunction With The Wrongful Suspension
Of Dr. Laskar
159.

On May 18, 2010, one day following a GBI raid conducted at Dr. Laskar’s
home, and following raids conducted at 20 other locations, Georgia Tech
proceeded to suspend Dr. Laskar from his position of employment at Georgia
Tech, and to do so without pay. Mr. Stephen Fleming, then Vice President of
Georgia Tech, sent an e-mail to Georgia Tech faculty members describing the
policies and procedures for the use of Georgia Tech facilities and resources by
start-up companies. Mr. Fleming wrote, in part, “I’m sure you’ve all seen the news
reports about a potential misuse of resources at one of our campus research centers

...90me of you have reached out to us expressing concern about your own

70

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 71 of 87

research and commercialization activities.” He encouraged those who were
concemed they might have violated a rule to contact a specified Georgia Tech
employee to discuss the matter. Defendant Jilda Garton testified under oath and
before a representative of the Attorney General’s office that Mr. Fleming’s e-mail
had been sent “because we were asked a number of questions. And folks wanted us
to clarify and make sure that those policies end procedures were articulated for
people who were asking those questions.” In other words, because of historical
practices and procedures, members of the Georgia Tech community wanted to
understand if the actions of their member companies were now in question.

160.

After search warrants were secured by Agent Vorrasi on the basis of her
Affidavit and information supplied to her by Defendant Hurd, she conducied a
briefing on Friday, May 14, 2010 with approximately 25 individuals who wouid
participate in the execution of the search warrants. These 25 people included GBI
agents, Georgia Tech Department of Public Safety Officials, and Georgia Tech
Internal Audit employees. On Monday May 17, 2010. GBI raids then occurred at
21 locations. Defendant Jenkins testified under oath that GBI officials wore

Kevlar vests and had their guns drawn when executing the warrants.

71

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 72 of 87

161.

Every single item seized during the GBI raids was released to the Georgia
Tech Internal Audit Department and stored in a building on the Georgia Tech
campus in Atlanta, Fulton County, Georgia. Defendant Hurd personally signed the
documentation recording many of these releases of evidence from the GBI to
Georgia Tech Internal Audits. The items seized included many non-technical items
such as a passport seized from Stephane Pmel’s bedroom, Delta Airline tickets
seized from his office, six U.S. passports and Indian currency seized from Dr.
Laskar’s home, and bits of paper with handwriting on them dug out of trash cans.

162.

Melissa Hall, an employee of Georgia Tech’s Internal Auditing,
subsequently accompanied Agent Wesiey Horne to receive equipment regarding 60
GHz technology from Georgia Tech employee Dr. Stephen Ralph. That equipment
was also released to Georgia Tech’s Internal Auditing.

163.

At approximately 8:30 am, May 17, 2010, nine law enforcement officials
(including four GBI agents and five Cobb County Police Department officers)
began their raid of Dr. Laskar’s home. The raid lasted approximately four hours.
During the course of the raid, investigators destroyed a protect Dr. Laskar’s seven-

year old daughter had made for school.

72
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 73 of 87

164.

When the raid was begun at his home, Dr. Laskar was completely unaware.
He was at that moment in time on the Georgia Tech campus. GBI Special Agent
Lisa Vorrasi approached Dr. Laskar on campus and tried to question him. She told
him that she wanted to search his vehicle. Dr. Laskar then accompanied Agent
Vorrasi and another GB) agent to a parking deck located on the Georgia Tech
campus. Although Agent Vorrasi’s search warrant for Dr. Laskar’s vehicle listed
the wrong model, Dr. Laskar nevertheless unlocked his car to make it available for
her inspection.

165.

When Agent Vorrasi seized Dr. Laskar’s computer from his vehicie, Dr.
Laskar provided her with the login in and password information to allow her to
access ihe information thereon.

166.

Prior to these raids, Dr. Laskar was never questioned by Georgia Tech’s
Internal Auditing Department. As of February 15, 2010, Larry Webster, an
employee of the Department, had thought Internal Auditing planned to question
Dr. Laskar before commencing its raids. Even Defendant Allen encouraged

Defendant Hurd to meet and discuss matters with Dr. Lasker. Defendant Eurd

refused to do so.

73

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 74 of 87

167.

During some of the GBI’s raids, employees of Georgia Tech’s Internal
Auditing department accompanied law enforcement officials. Terry Nolan, the
Associate Director of Internal Auditing at Georgia Tech, accompanied law
enforcement officials on their raid of Sayana’s offices at 75 Fifth Street, NW, Suite
310, Atlanta, Fulton County, Georgia and their raid Dr. Laskar’s office on the

Georgia Tech campus.

Defendants Jenkins Joined Presecutors In Formally
Questioning Sayana Employees
168.

On June 24, 2010, Sayana employee Bevin Perumana was deposed by
Senior Assistant Attorney General McLaughlin in the presence of Special Agent
Vorrasi. Defendant Patrick Jenkins was present at Mr. Perumana’s deposition.
During the deposition, Defendant Jenkins spoke on the record and questioned Mr.
Perumana directly.

169.
On June 24, 2010, Sayana employee Saikat Sarkar was deposed by Mr.

McLaughlin, again in the presence of Special Agent Vorrasi and Defendant

74

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 75 of 87

Jenkins. During the deposition, Defendant Jenkins spoke on the record and
questioned Mr. Sarkar directly.
170.

On June 24, 2010, Sayana employee Padmanava Sen was deposed by Mr.
McLaughlin in the presence of Special Agent Vorrasi and Defendant Jenkins.
During the deposition, Defendant Jenkins spoke on the record and questioned Mr.
Sen directly.

171.

Defendant Jenkins assisted GB] Agent Lisa Vorrasi with her questioning of
witness Romain Pelard.

172.

Defendant Patrick Jenkins assisted GB! Agert Lisa Vorrasi with her
questioning of witness Angelika Braig.

173.

Defendant Jenkins assisted GBI] Agent Lisa Vorrasi with her questioning of
witness Ecward Gebara.

174.

Defendant Jenkins assisted GBI Agent Lisa Vorrasi with her questioning of

witness Carl Rust.

75

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 76 of 87

175.
Defendant Jenkins assisted GB! Agent Lisa Vorrasi with her questioning of
witness Kyutae Lirn.
176.
Defendant Jenkins assisted GB] Agent Wesley Horne with his questioning
of witness Jo: Adams.
177.
Defendant Jenkins assisted GB! Agent Wesley Home with his questioning
of witness Debasis Dawn.
178.
Defendani Jenkins assisted GBI Agent Wesley Horne with his questioning
of witness David Yeh.
179.
Defendant Jenkins assisted GBI Agent Wesley Horne with his questioning
of witness Cathy Beam.
180.
After the GBI questioned Paul Freet, the Principal at VentureLab, Mr. Freet
observed that almost all of the questions were asked by the Georgia Tech Internal

Audit employees, not the GBI agents. Georgia Tech employees appeared to be
9 & f Bok

76

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 77 of 87

running the interview and those Georgia Tech Internal Audit employees
guestioning him were not famiuar with VentureLab or the spin-out process.
181.

On March 17, 2011, Jessica Sentz, a licensed attorney then working in
Georgia Tech’s Office of Legal Affairs wrote to Mr. McLaughlin in the Attorney
General’s Office: “[Wje wanted to know how to approach him [Patrick Jenkins] as
a WTN Fwitness| because of his wearing two hats: GT employee and GBI agent G
use the term ‘agent’ loosely). He’s going to be our star WTN [witness] and we
want to keep a Chinese firewall between what he knows as GT EE and what he
knows as a ‘helper’ to GB]. Can we call you .. . for the answers to those
questions?”

182.
Defendants were closely involved with state law enforcement and

investigative authorities.

GBI Warrants Were Executed On The Day The Sayana Auction
Sale Was Scheduled To Occur, Causing That Sale To Be Cancelled
183.
Sayana Wireless LLC had paid $50,000.00 to Pagemill Partners in order to

effectuate the sale of Sayana by private auction. Pagemill Partners is a Silicon

7/
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 78 of 87

Valley technology investment bank specializing in the sale of electronic design
companies.
184.

Seventeen (17) different companies had conducted an investigation of
Sayana and were identified as potential bidders. Pagemil! Partners had advised
Sayana that it anticipated an auction price for Sayana of more than $30 Million.

185.
The auction was scheduled to begin on May 17, 2010.
186.

On the morning of May 17, 2010, the Georgia Bureau of Investigation, in
furtherance of criminal charges reported, approved, assembled and communicated
by Defendants, raided the homes of Dr. Laskar and Dr. Pinel, their offices at
Georgia Tech, and some 20 other locations. The personal and professional items,
incuding computers, seized in this raid have never been returned to Dr. Laskar and
his family, notwithstanding the dismissal of all charges against him. Many of the
items taken were highly personal in nature.

187.

Assisted by emails and press releases planned, orchestrated and

disseminated by Defendants and those to whom they reported at Georgia Tech, the

events described were covered intensely by members of the news media. Pagemill

78
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 79 of 87

Partners was forced to halt the auction of Sayana. As a consequence of the auction
being cancelled, Sayana lost millions of dollars in sales proceeds.
188.

Dr. Laskar was deprived of millions of dollars in anticipated transaction
proceeds. As holder of a 10% member interest in Sayana, the Georgia Tech
Research Corporation also lost millions of dollars in proceeds. Defendants
regarded it to be more important to act maliciously toward and against Dr. Laskar
than to preserve and protect the benefits available to GTRC.

189.

On December 30, 2014, Dr. Laskar was criminally indicted for racketeering
and theft in connection with the purchase by Georgia Tech of CMP computer
prototype chips.

190.

On October 5, 2016, The Honorable Robert McBurney of the Superior Court

of Fulton County dismissed all claims presented and filed against Dr. Laskar,

terminating that legal proceeding in Dr. Laskar’s favor.

79

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 80 of 87

SECTION 1983 CLAIM FOR MALICIOUS PROSECUTION
19}.

The allegations contained in paragraphs | through 190 of Plaintiff's
Complaint are incorporated herein by reference as if each said paragraphs was
restated and re-alleged in its entirety.

192.

Title 42 U.S.C. $ 1983 provides in pertinent part:

Every person, who under color of any statute, ordinance, regulation,

custom or usage of any state or territory of the District of Columbia

subjects or causes to be subjected any citizen of the United States or
other person within the jurisdiction thereof to the deprivation of any
rights, privileges or immunities secured by the constitution and law
shall be liable to the party injured in an action at law, suit in equity, or
other appropriate proceeding for redress.

193.

At all times relevant to the material events described in this Complaint,
Plaintiff was a citizen of the United States of America and a person within and
subject to its jurisdiction. All of the named Defendants were persons acting under
color of a state and state law as that conduct is described in 42 U.S.C. $ 1983.

194,
At all times relevant hereto, the Defendants acted under the color of state

law when acting within the scope of their employment and as employees of an arm

of the state of Georgia, the Board of Regents of the University System of Georgia,

80
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 81 of 87

the state-owned Georgia Institute of Technology, and that Institute’s affiliated
entities. All of the Defendants performed the acts and omissions described in this
Complaint within the scope of their official duties and employment. However, the
claims stated herein are not stated against the Defendants in their official
capacities; rather, all claims are asserted against them in their individual and
personal capacities.

195,

Defendants attempted to influence a criminal investigator and criminal
prosecutor by knowingly providing false, incomplete and misleading information
regarding Plaintiff and his actions. Defendants are liable for maliciously
instigating, initiating, advancing, facilitating and pursuing the criminal prosecution
of Plaintiff and without probable cause.

196.

Defendants, by providing false, incomplete, and/or misleading information
about Plaintiff and the facts and circumstances surrounding his conduct while he
worked for and on behalf of Georgia Tech, GEDC, Sayana, GTRC, and in support
of students whom he mentored and advised, acted maliciously and without
probable cause when recommending, requesting, referring, suggesting, and
directing the initiation of a criminal prosecution of Plaintiff through the provision

of false and misleading information.

81

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 82 of 87

197.

Defendants’ actions resulted in, led to, and caused the criminal prosecution
of Plaintiff for two counts of racketeering and premised upon the underlying
crimes of theft by taking. O.C.G.A. $$ 16-14-4(a) and (b). On October 5, 2016,
the criminal proceedings against Plaintiff were terminated in his favor. Under
Georgia law, “[a] criminal prosecution which is carried on maliciously and without
any probable cause and which causes damages to the person prosecuted shall give
him a cause of action.” O.C.G.A. § 51-7-40. The right of action accrues when the
criminal prosecution is ended. O.C.G.A. § 5/-7-4/. A plaintiff may recover
general damages as well as compensation for any arrest or imprisonment, including
damages for discomfort or injury to his health, or loss of time and deprivation of
society. Heck v. Humphrey, 512 U.S. 477, 484 (1994) Attorneys’ fees incurred are
recoverable. The Defendants’ conduct constituted the tort of malicious prosecution
of Plaintiff under principles of Georgia and federal law.

198.

As a direct and proximate result of Defendants’ actions, Plaintiff has

suffered, and is entitled to recover, direct, consequential, special and other

damages in an amount to be determined at a trial of this action.

82

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 83 of 87

199.

The actions and omissions of Defendants resulted in Plaintiff's arrest, in the
wrongful and unlawful seizure of his private property and papers, and in the
criminal prosecution of his person. Dr. Laskar was deprived of his personal
liberty, of his ability to secure gainful employment, and of his ability to support his
family. Dr. Laskar experienced and suffered the destruction of his career and his
personal and professional reputation. Defendants caused Plaintiff to suffer these
damages in violation of the Fourth Amendment to the Constitution of the United
States of America.

200.

Under governing Eleventh Circuit authority, it is established “with obvious
clarity, that a government official is prohibited from intentionally providing false
information to law enforcement without probable cause and thereby directly
causing a Fourth Amendment violation.” Buckner v. Shetterley, 621 F.Supp.2d
1300 (M.D. Ga. 2008).

201.

Defendants are not entitled to any sovereign, official or qualified immunity
for their actions and omissions. The violation by Defendants of Plaintiff's Fourth
Amendment constitutional rights deprives them of any immunity they might

otherwise claim.

83

 
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 84 of 87

202.

Plaintiff is entitled to the recovery of his reasonable attorneys’ fees and costs
pursuant to 42 U.S.C. § 1988, and to the recovery of pre-judgment interest and
costs as provided under federal law. Defendants have acted in bad faith, and
Plaintiff is additionally entitled to the recovery of his reasonable attorneys’ fees
and expenses of litigation under and by virtue of O.C.G.A. Section 13-6-11.

203.

Defendants’ actions were willfully undertaken, deliberately and maliciously
pursued, and evidenced by bad faith. Defendants’ actions constituted a willful and
wanton disregard for, and a violation of Plaintiff's Constitutional rights.

204.

The actions of Defendants evidence willful misconduct, malice, fraud,
wantonness, oppression, and an entire want of care sufficient to raise the
presumption of a conscious indifference to consequences. Under and by virtue of
O.C.G.A. § 51-12-5.1(b), Plaintiff is entitled to an award of punitive damages in an
amount to be determined by the enlightened conscience of the jury.

205.
Plaintiff brings this action timely and in accordance with the relevant statute

of limitations.

84
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 85 of 87

WHEREFORE, Joy Laskar, Ph.D., respectfully prays and demands:

(1) that process issue as provided by law;

(2) that Plaintiff have judgment against Defendants for all recoverable
direct, consequential and special damages arising under Count One of his
Complaint;

(3) that Plaintiff have a recovery of pre-judgment interest;

(4) that Plaintiff recover his reasonable attorneys’ fees and expenses of
litigation;

(5) That Plaintiff recover punitive damages in an amount to be determined
by the enlightened conscience of the jury;

(6) That all costs of this action be cast upon Defendants;

(7) That Plaintiff have a trial of this action before a jury of his peers;

(8) That the Court declare Defendants’ conduct has violated the Fourth
Amendment to the Constitution of the United States; and

(9) that Plaintiff have such other and further relief as this Court deems

just and proper.

DATED: September 28, 2018.

85
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 86 of 87

Respectfully submitted,

/s/ Michael A. Dailey
Michael Alan Dailey

Georgia Bar No. 203250
Attorney for Plaintiff

ANDERSON DAILEY LLP
2002 Summit Boulevard
Suite 1250

Atlanta, Georgia 30319

404 442 1800 voice

404 442 1820 data
noida:leyi@Mandersondaliey.com

86
Case 1:18-cv-04570-WMR Document1 Filed 09/28/18 Page 87 of 87

CERTIFICATE OF COMPLIANCE
Pursuant to Rule 5.1 of the Local Rules of the U.S. District Court for the

Northern District of Georgia, the undersigned certifies that the within and
foregoing Complaint was prepared in accordance with L.R. 5.1, N.D. Ga., using
Times New Roman font, 14 Point.

This 28" day of September, 2018.

/s/ Michael A. Dailey
Michael Alan Dailey

Georgia Bar No. 203250
Attorney for Plaintiff

ANDERSON DAILEY LLP
2002 Summit Boulevard

Suite 1250

Atlanta, Georgia 30319

404 442 1800 voice

404 442 1820 data
mcdailey@andersondaiey.coni

87
